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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA




       JEFFREY B. SEDLIK,                     CV 21-1102 DSF (MRWx)
           Plaintiff,
                                              Order GRANTING Defendants’
                        v.                    Motion for Reconsideration (Dkt.
                                              140); Order GRANTING
       KATHERINE VON                          Plaintiff’s Motion for
       DRACHENBERG, et al.,                   Reconsideration (Dkt. 142) 1
           Defendants.




         Jeffrey Sedlik moves for reconsideration of the Order DENYING
      Plaintiff’s Motion for Summary Judgment or Summary Adjudication.
      Defendants move for reconsideration of the Court’s Order GRANTING
      in part and DENYING in part Defendants’ Motion for Summary
      Judgment and Partial Summary Judgment. Both motions for
      reconsideration are GRANTED. However, even after finding that the
      Tattoo is not transformative, the Court finds that neither side has
      satisfied its summary judgment burden on the affirmative defense of
      fair use.




      1 “A motion for reconsideration is considered granted when the district court

      thoroughly reconsiders its previous ruling, even if it reaches the same
      outcome.” Valcom, Inc. v. Vellardita, No. 2:13-CV-3025-WHW-CLW, 2014
      WL 2965708, at *2 (D.N.J. July 1, 2014) (simplified) (citing Pena–Ruiz v.
      Solorzano, 281 Fed. App’x 110, 111 n. 1 (3d Cir. 2008)).
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                                  I. Legal Standard

           In the Central District of California, a motion for reconsideration
      may be made only on grounds of:

            (a) a material difference in fact or law from that presented
            to the Court before such decision that, in the exercise of
            reasonable diligence, could not have been known to the
            party moving for reconsideration at the time the Order was
            entered, or (b) the emergence of new material facts or a
            change of law occurring after the Order was entered, or (c)
            a manifest showing of a failure to consider material facts
            presented to the Court before the Order was entered.

      L.R. 7-18. “No motion for reconsideration may in any manner repeat
      any oral or written argument made in support of, or in opposition to,
      the original motion.” Id.

                               II. Procedural History

         This case concerns Jeffrey Sedlik’s photographic portrait of Miles
      Davis (Portrait). The Portrait was used as a reference by the tattoo
      artist Katherine Von Drachenberg, famously known as Kat Von D, to
      ink a tattoo for her friend Blake Farmer (Tattoo). She did this free of
      charge, and later posted photos and videos of the Tattoo in progress
      and completed form on her personal and business social media
      accounts. 2

         Both parties moved for summary judgment on the claim of copyright
      infringement. Defendants raised the affirmative defense of fair use. In
      the summary judgment orders, the Court conducted a fair use analysis,
      considering and weighing the determinative factors: “(1) the purpose
      and character of the use, including whether such use is of a commercial
      nature or is for nonprofit educational purposes; (2) the nature of the
      copyrighted work; (3) the amount and substantiality of the portion used


      2 The facts and the parties’ positions are set forth at length in the summary

      judgment orders. See Dkt. 69 (Summ. J. Orders) at 2–7.



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      in relation to the copyrighted work as a whole; and (4) the effect of the
      use upon the potential market for or value of the copyrighted work.” 17
      U.S.C. § 107.

         The Court found that Defendants had “met their burden of showing
      the Tattoo has a purpose or meaning distinct from that of the Portrait
      by virtue of the way Kat Von D changed its appearance to create what
      she characterizes as adding movement and a more melancholy
      aesthetic.” Summ. J. Orders at 21. But because Sedlik raised a triable
      issue in response, the Court found that the decision as to whether the
      Tattoo was transformative was more appropriately left to a jury. Id.
      The Court found after weighing all the fair use factors that “the issue of
      fair use as to the Tattoo and the associated social media posts is more
      appropriately left to a jury.” Id. at 25.

         The Court agrees with the parties that there has been a material
      change in controlling law since the Court issued the summary
      judgment orders. On May 18, 2023, the United States Supreme Court
      decided Andy Warhol Foundation for the Visual Arts, Inc. v. Goldsmith,
      143 S. Ct. 1258 (2023) (Warhol), giving lower courts new instructions
      on how to evaluate the first factor under 17 U.S.C. § 107(1)’s fair use
      analysis. Warhol changes the Court’s analysis. The Court now finds
      that Defendants have not produced evidence that the Tattoo is
      transformative and that the social media posts must be analyzed
      separately, but the Court still finds that “the issue of fair use as to the
      Tattoo and the associated social media posts is more appropriately left
      to a jury.” Summ. J. Orders at 25. 3




      3 Sedlik argues that the Court should reconsider its finding that there were

      triable issues of fact as to the substantial similarity between the Portrait and
      alleged infringements, citing Lorador v. Kolev, No. 22-15491, 2023 WL
      3477834 (9th Cir. May 16, 2023)(unpublished) and a host of district court
      opinions for the proposition “that a court does not engage in substantial
      similarity analysis where there is direct evidence of copying[.]” Dkt. 143 (Pl.
      Mem. Supp. Recons.) 14. This repeats an argument Sedlik made in his


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                                    III. Fair Use

         “Fair use is a mixed question of law and fact.” McGucken v. Pub
      Ocean Ltd., 42 F.4th 1149, 1158 (9th Cir. 2022). “Where no material,
      historical facts are at issue and the parties dispute only the ultimate
      conclusions to be drawn from those facts, [the Court] may draw those
      conclusions without usurping the function of the jury.” Id. But where
      there is a triable issue of fact and a jury could “reasonably conclude that
      the work constitutes a fair use,” summary judgment cannot be granted.
      See Morris v. Young, 925 F. Supp. 2d 1078, 1089 (C.D. Cal. 2013).

         Sedlik claims Warhol requires that the Court grant his motion for
      summary judgment because “Defendants have admitted to copying
      Plaintiff’s photograph of Miles Davis [“the Portrait”] by (1) tracing the
      [the Portrait] to create a tattoo of it (the “Tattoo”), (2) using the
      [Portrait] as a reference in creating the Tattoo, [and] (3) publicly
      displaying both the [Portrait] and the Tattoo on the Internet.” Dkt. 142
      (Pl. Mot. Recons.) at 3. Sedlik contends that “defendants cannot prove
      that any of the factors favor fair use as a matter of law.” Id.

          Defendants argue that in light of Warhol, the Court should find that
      “(1) the Tattoo is a non-commercial use under the first fair use factor;
      (2) as specifically applied to the Tattoo, the first factor of the fair use
      analysis weighs in favor of a finding of fair use; and (3) weighing all the
      factors together, as a matter of law given the facts in this case, the
      Tattoo is a fair use.” Dkt. 140 (Def. Mot. Recons.) at 2.

      A.    Warhol

         Warhol concerned an orange silkscreen portrait of the recording
      artist Prince that was a derivative of a photograph by Lynn Goldsmith.
      143 S. Ct. at 1268. The Andy Warhol Foundation, which owned the
      silkscreen, licensed it to Condé Nast for a retrospective magazine issue
      on Prince. Id. at 1266. The Foundation argued that the silkscreen was
      transformative because it imbued Goldsmith’s photo with new

      motion for summary judgment. Dkt 53 (Reply) at 2. For the reasons stated
      in the summary judgment orders, Plaintiff’s argument is unpersuasive.



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      meanings and messages. Id. at 1282. The Supreme Court affirmed the
      Second Circuit’s holding that the first factor of 17 U.S.C. § 107 did not
      support the Foundation’s claim of fair use of Goldsmith’s photograph.
      143 S. Ct. at 1287. In rejecting the Foundation’s argument and the
      proposition that the first factor “weighs in favor of any use that adds
      some new expression, meaning, or message,” id. at 1282, the Supreme
      Court stated that even if the silkscreen could “be perceived to portray
      Prince as iconic, whereas Goldsmith’s portrayal is photorealistic, that
      difference must be evaluated in the context of the specific use at issue,”
      id. at 1284. The relevant use was the Foundation’s “commercial
      licensing of Orange Prince to appear on the cover of Condé Nast’s
      special commemorative edition[,]” not Orange Prince’s meaning or
      aesthetic. Id.

           Even after Warhol, it is not always inappropriate to examine art’s
      meaning or message. “But new meaning or message [is] not sufficient.
      [...] Instead meaning or message [is] simply relevant to whether the
      new use served a purpose distinct from the original, or instead
      superseded its objects. That was, and is the ‘central’ question under
      the first factor.” Id. at 1282-83. For example, in parody the meaning of
      the infringing work must be considered to determine whether the
      secondary work comments on the original or is satire that “can stand on
      its own two feet[.]” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569,
      581 (1994). A “court should not attempt to evaluate the artistic
      significance of a particular work[.]” Warhol, 143 S. Ct. at 1283.

         One clear example of a transformative use that survives Warhol is
      Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007). In
      Perfect 10, the Ninth Circuit held that Google’s use of thumbnails was
      highly transformative. Id. at 1165. The circuit reasoned that
      “[a]lthough an image may have been created originally to serve an
      entertainment, aesthetic, or informative function, a search engine
      transforms the image into a pointer directing a user to a source of
      information.” Id. Although Google’s use reproduced copyrighted
      images in their entirety, it had a function different from the
      copyrighted work.



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            In light of Warhol, the Court recognizes that its prior analysis
      “assess[ed] the aesthetic character of the resulting work,” instead of
      focusing on the purpose of its use as required by Warhol. 143 S. Ct. at
      1289 (Gorsuch, J., concurring). The Court therefore must reconsider its
      finding that Defendants met their burden. Summ. J. Orders at 21. In
      addition, in the summary judgment orders, this Court looked at the
      Tattoo and social media posts together instead of analyzing each use
      separately. Summ. J. Orders at 18–21. But Warhol has clarified that
      the Court must now look at the purpose of each use, because “[t]he
      same copying may be fair when used for one purpose but not another.”
      143 S. Ct. at 1277.

      B.    The Tattoo

         Sedlik argues that under Warhol there is no evidence that the
      Tattoo is transformative beyond being a derivative work, which is
      insufficient for a fair use defense. 4 “A ‘derivative work’ is a work based
      upon one or more preexisting works, such as a translation, musical
      arrangement, dramatization, fictionalization, motion picture version,

      4 The moving party bears the initial burden of establishing the absence of a

      genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323
      (1986). To prevail at summary judgment, a moving party without the burden
      of persuasion “may show that the nonmoving party does not have enough
      evidence of an essential element of its claim or defense to carry its ultimate
      burden of persuasion at trial.” Nissan Fire & Marine Ins. Co. v. Fritz
      Companies, Inc., 210 F.3d 1099, 1106 (9th Cir. 2000). “Because fair use is an
      affirmative defense, on which the defendant bears the burden at trial, when a
      plaintiff challenges it on summary judgment, he may satisfy his Rule 56
      burden by showing that there is an absence of evidence to support an
      essential element of the non-moving party’s case.” O’Neil v. Ratajkowski, 563
      F. Supp. 3d 112, 128 (S.D.N.Y. 2021). Thus, the Court must consider
      whether Sedlik has shown that there is an absence of evidence that the
      Tattoo was a fair use. If so, then it must consider whether Defendants have
      produced enough evidence to create a genuine issue as to whether the Tattoo
      was a fair use, or in the alternative, whether Defendants are entitled to a
      finding of fair use as a matter of law on their cross-motion for summary
      judgment.



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      sound recording, art reproduction, abridgment, condensation, or any
      other form in which a work may be recast, transformed, or adapted.” 17
      U.S.C.§ 101. The Tattoo has recast the Portrait in a new visual
      medium, akin to a “translation” or “motion picture version.” Id. This is
      a violation of the copyright owner’s exclusive right “to prepare [and
      authorize] derivative works based upon the copyrighted work.” 17
      U.S.C. § 106(2). This exclusive right is limited by the fair use doctrine.
      17 U.S.C. § 107.

          After Warhol, the first factor of a fair use defense “considers
      whether the use of a copyrighted work has a further purpose or
      different character, which is a matter of degree, and the degree of
      difference must be balanced against the commercial nature of the use.”
      Warhol, 143 S. Ct. at 1277. A work is transformative when it “adds
      something new, with a further purpose or different character, altering
      the first with new expression, meaning, or message[.]” Campbell, 510
      U.S. at 579. The parties agree that Kat Von D’s use of the work is at
      issue, not Farmer’s use. Tr. Oral Arg. 23:2–3.

          Warhol does not change the longstanding rule that recasting a
      photograph into a different visual medium is not sufficiently
      transformative. See Rogers v. Koons, 960 F.2d 301, 309 (2d Cir. 1992)
      (holding transformation of photograph into sculpture was not fair use).
      To preserve the copyright owner’s right to make and authorize
      derivatives, “the degree of transformation required to make
      ‘transformative’ [fair] use of an original must go beyond that required
      to qualify as a derivative.” Warhol, 143 S. Ct. at 1275. Defendants
      have not explained why the medium of tattoos should be treated
      differently from other visual mediums like sculpture or film. Nor have
      they pointed to a transformative purpose that goes “beyond that
      required to qualify as a derivative[,]” Warhol, 143 S. Ct. at 1275, like
      the way a thumbnail transforms an image “into a pointer directing a
      user to a source of information.” Perfect 10, 508 F.3d at 1165.

         Sedlik points to the record to show the lack of a genuine issue as to
      the Tattoo’s transformative purpose. The burden shifts to Defendants
      to provide evidence of one. The evidence Defendants previously relied


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      on to meet their burden no longer shows a transformative purpose after
      Warhol, and there is now an absence of evidence on the issue. Dkt. 33
      (DSUF) ¶¶74–77. Defendants rely on the same fair use defense that
      the Court accepted before Warhol. They argue that the environments
      of the two uses are distinct and different: “[Sedlick’s] photograph was
      used to illustrate an article about Miles Davis in a jazz magazine. Kat
      Von D hand-inked a tattoo on the arm of her friend.” Dkt. 145 (Def.
      Opp’n) 15. And the Tattoo is transformative because Kat Von D has
      added “movement” and a “melancholy aesthetic.” Dkt. 141 (Def. Mem.
      Supp. Recons.) 11. Defendants’ argument relies on a formal analysis of
      the Tattoo’s aesthetic character. This is precisely the type of argument
      foreclosed by Warhol. See 143 S. Ct. at 1282.

         Nor does the Tattoo require borrowing from the original like parody,
      criticism, or commentary, which are transformative because they
      conjure “up the original work to shed light on the work itself, not just
      the subject of the work.” Warhol, 143 S. Ct. at 1281. Kat Von D admits
      that had the Portrait not existed, she would have “just used another
      image.” Dkt, 143-3 (Ex. 1) 184:9–10. Like satire, the Tattoo can “stand
      on its own two feet and so requires justification for the very act of
      borrowing.” Campbell, 510 U.S. at 581.

         Sedlik has met his burden of showing that there is no evidence the
      Tattoo is transformative. Defendants have not produced any evidence
      creating a genuine issue. But this is not the only fair use factor, nor
      the only consideration under the first factor.

         The Court previously found a triable issue as to whether the
      Defendants’ use was commercial because “Defendants ‘received and
      enjoyed indirect economic benefit in the form of advertising, promotion,
      and goodwill’ by posting photos of the Tattoo on their various social
      media platforms.” Summ. J. Orders at 21. Defendants continue to
      argue that the Tattoo is a non-commercial use because Kat Von D has
      not charged a client for a tattoo for over a decade. Def. Mem. Supp.
      Recons. at 8–9; DSUF ¶31. The Tattoo, like her others, was inked for
      free. DSUF ¶31.




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         But “[t]he crux of the profit/nonprofit distinction is not whether the
      sole motive of the use is monetary gain but whether the user stands to
      profit from exploitation of the copyrighted material without paying the
      customary price.” Worldwide Church of God v. Philadelphia Church of
      God, Inc., 227 F.3d 1110, 1117 (9th Cir. 2000) (citing Harper & Row
      Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 562 (1985)). The
      social media posts may be seen as evidence of a commercial purpose.
      Kat Von D had a photo taken of her while she was inking the Tattoo,
      and later posted it to both her Facebook and Instagram accounts as
      well as her shop’s social media accounts. Dkts. 35-19 (Ex. 203); 35-20
      (Ex. 204); 35-26 (Ex. 212); 35-27 (Ex. 213). A reasonable factfinder
      could conclude that Kat Von D inked the Tattoo for the commercial
      purpose of building her personal brand and attracting customers to her
      shop.

         Conversely, a reasonable factfinder could also conclude that the
      Tattoo was an “incidental use as part of a commercial enterprise” and
      not done for the purpose of marketing Kat Von D’s brand or shop. See
      Seltzer v. Green Day, Inc., 725 F.3d 1170, 1178 (9th Cir. 2013). 5
      Whether the Tattoo was done for a commercial purpose is a material
      factual issue that must be resolved by a jury. Neither side has met the
      burden of showing that there is no triable issue as to whether the first
      factor favors Sedlik or Defendants. The outcome of the Court’s
      summary judgment remains the same: the first factor cannot be
      determined as a matter of law.

         Warhol does not change the Court’s analysis of the second or third
      factor. 6 The fourth factor, the effect of the use on the potential market

      5 Seltzer directly contradicts Sedlik’s claim that only non-profit educational

      uses are protected by the fair use doctrine. Pl. Mot. Recons. at 10–11.
      6 The Court notes that in its summary judgment orders it found that

      “[b]ecause the Portrait was previously published several decades ago, [the
      second factor] weighs in favor of fair use.” Summ J. Orders at 22. This was a
      mistake. Dr. Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d 443, 456
      (9th Cir. 2020)(“[N]either Harper & Row nor any principle of fair use counsels
      that the publication of the copyrighted work weighs in favor of fair use.”).


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   for or value of the copyrighted work, is “undoubtedly the single most
   important element of fair use.” Harper & Row, 471 U.S. at 566.
   Nothing in Warhol disturbs the Court’s finding that there is a “triable
   issue as to whether there is a market for future use of the Portrait in
   tattoos.” Summ. J. Orders at 24. 7

       After reconsideration, the Court again “finds triable issues as to the
   [first and fourth] statutory factors.” Summ. J. Orders at 25. The “four
   statutory factors [should not] be treated in isolation, one from another.
   All are to be explored, and the results weighed together, in light of the
   purposes of copyright[.]” Campbell, 510 U.S. at 578. Because there are
   triable issues of fact as to the two most important factors, whether the
   Tattoo is a fair use as a matter of law cannot be determined and both
   motions for summary judgment as to the Tattoo are DENIED.

   C.    The Line Drawing

       Sedlik now argues that Kat Von D infringed his copyright by making
   a line drawing based on the Portrait. Pl. Mot. Recons. at 3. But Sedlik
   did not argue that the line drawing was an infringement in his
   summary judgment motion. See Dkt. 37 (Pl. Mot. Summ. J.). A motion
   for reconsideration is “not the place for parties to make new arguments
   not raised in their original briefs.” Woulfe v. Universal City Studios



   The second factor thus weighs against fair use because the Portrait is a
   creative work. Summ J. Orders at 22. However, the second factor “typically
   has not been terribly significant in the overall fair use balancing[.]” Dr.
   Seuss Enterprises, 983 F.3d at 456.
   7 Sedlik submitted additional undisputed facts regarding the past licensing of

   his work to a tattoo artist. Dkt. 143-1, ASUF ¶41. Defendants object that
   this is not a new material fact because Sedlik has already offered evidence
   that he has previously licensed the Portrait as a reference for a tattoo. Def.
   Opp’n at 21. The Court already heard evidence of past licenses Sedlik
   granted to tattoo artists and found a triable issue of fact. Summ. J. Orders at
   24. Testimony concerning evidence already considered does not raise a new
   material fact under C.D.Cal.R. 7-18.



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   LLC, No. 222CV00459SVWAGR, 2023 WL 3321752, at *1 (C.D. Cal.
   Mar. 9, 2023).

   D.    Social Media Posts

      In Sedlik’s summary judgment motion, he argued that Defendants’
   reproduction of the Portrait on social media infringed his copyright. Pl.
   Mot. Summ. J. at 15. Defendants argued that the “social media posts
   depicting the tattoo in various states of progress – three distinct
   photographs, and one video – are also protected by fair use[.]” Dkt 32
   (Def. Mot. S. J.) at 24. The Court’s previous fair use analysis did not
   consider the Tattoo separately from the social media posts, let alone
   each separate use on social media as required by Warhol. Compare 143
   S. Ct. at 1277 with Summ. J. Orders at 18–21. On reconsideration,
   Sedlik seeks summary judgment on the issue of fair use as to the social
   media posts. Pl. Mot. at 3. Defendants do not. See Def. Mot. at 2.
   Sedlik must show that there is no evidence in the record supporting a
   fair use defense of the social media posts. Fed. R. Civ. P. 56(a). He has
   not carried his burden.

         1.    Process Images

      Sedlik identifies three allegedly infringing images documenting the
   process of inking the Tattoo: the picture of the Tattoo in progress
   posted to Kat Von D’s and High Voltage’s Instagram and Facebook
   pages (Exs. 203, 204, 212, 213), the “messy progress shot” on Instagram
   and Facebook, dkt. 35-21 (Ex. 207), dkt. 35-22 (Ex. 208), and a video
   posted to Kat Von D’s Instagram Stories of the work in progress, dkt.
   35-31 (Ex. 217).

      Defendants argue that these images “do not in any way achieve a
   purpose that is the same as, or highly similar to, that of the original
   work[.]” Def. Opp’n at 17. Sedlik argues that the posts were for the
   purpose of displaying a portrait of Miles Davis. Dkt. 148 (Pl. Opp’n) at
   14. This appears doubtful as a reasonable juror could have trouble
   even discerning that the “messy progress shot” depicts Miles Davis, and
   both parties seem to agree that the Portrait accounts for only about
   10% of the other images. Id. at 15; Def. Mot. S. J. at 24. This is


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   evidence that the posts have a different purpose or function than the
   Portrait. Whether the process images have a transformative purpose is
   a triable issue of fact.

      There is also a triable issue of fact as to whether these posts were
   commercial. Generating traffic to one’s social media page using
   copyrighted material is “within the type of ‘profit’ contemplated by
   Worldwide Church.” Northland Fam. Plan. Clinic, Inc. v. Ctr. For Bio-
   Ethical Reform, 868 F. Supp. 2d 962, 979 (C.D. Cal. 2012). Kat Von D
   testified that her social media posts were not for the purpose of
   generating profit or customers for High Voltage Tattoo. Dkt. 35-11 (Ex.
   26), Dep. Kat von D 32:7–25, 33:15–23. A jury may find otherwise.
   Even if she did not seek to generate financial profit with her posts, a
   jury may conclude that Kat Von D “stood to gain recognition among
   [her] peers in the profession” and increase the value of her brand. See
   Weissmann v. Freeman, 868 F.2d 1313, 1324 (2d Cir. 1989). Weighing
   the alleged transformative purpose of the social media posts against
   their commercial nature, the Court finds there is a triable issue of fact
   as to whether the first factor favors fair use.

      The reasoning applicable to the second and third factors under the
   Court’s analysis of the Tattoo is also applicable to the social media
   posts, because the second and third factors consider the original work.
   The same elements and pose copied from the Portrait for the Tattoo
   were necessarily reproduced in the social media posts of the Tattoo.

       The fourth factor “encompasses both (1) the extent of market harm
   caused by the particular actions of the alleged infringer, and (2)
   whether unrestricted and widespread conduct of the sort engaged in by
   the defendant would result in a substantially adverse impact on the
   potential market for the original and the market for derivative works.”
   McGucken, 42 F.4th at 1163. Neither Sedlik nor Defendants have
   identified evidence or law that allows for a determination with respect
   to the potential markets for the social media posts. Defendants argued
   before Warhol that “[o]n the fourth factor, social media photographs
   and videos of the tattoo in various states of progress are not remotely
   substitutes for the primary market for Sedlik’s Photograph.” Def. Mot.


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   Summ. J. at 24. But this conclusory statement is not sufficient. The
   section of Sedlik’s brief analyzing the social media posts does not
   mention the fourth factor. Pl. Opp’n at 14–16.

      Where neither party meets its burden on cross motions for summary
   judgment “due to the inadequate briefing on the relevant legal issues
   and the insufficient factual support provided therein,” both motions
   will be denied. Sheedy v. BSB Properties, LC, No. 2:13-CV-00290-JNP,
   2016 WL 6902513, at *5 (D. Utah Mar. 1, 2016). There is a triable
   issue of fact as to whether the social media posts caused actual market
   harm to Sedlik, and whether widespread use of the portrait on social
   media would have an adverse impact on the potential markets for the
   Portrait and its derivatives.

         2.    Completed Picture

      The completed Tattoo was posted to both Kat Von D’s and High
   Voltage’s social media profiles. Dkts. 35-23 (Ex. 209), 35-24 (Ex. 210),
   35-25 (Ex. 211), 35-28 (Ex. 214), 35-29 (Ex. 215), 35-30 (Ex. 216), 35-31
   (Ex. 217). Both sides acknowledge that the analysis with respect to
   these photos is different. Def. Opp’n 18–19; Pl. Opp’n at 15. However,
   neither side applies the four factors to both the process images and
   completed images separately. The analysis and conclusions with
   respect to the first and fourth factor likely differ between the two. The
   Court cannot decide whether these social media posts are fair uses as a
   matter of law. Therefore, Sedlik’s motion for summary judgment as to
   the social media posts is DENIED.

                               IV. Conclusion

      The Court GRANTS both parties’ motions for reconsideration.
   Having reconsidered, the Court revises its determinations as described
   above.

      IT IS SO ORDERED.

    Date: October 10, 2023                 ___________________________
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                                           D l SS. Fi
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                                           United States District Judge


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